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                                   UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEW JERSEY



MALIBU MEDIA, LLC,                                        Case No. 2:17-cv-01321-WJM-MF

       Plaintiff,

       v.

TIM MCMANUS,

       Defendants.



 PLAINTIFF’S, MALIBU MEDIA LLC, NOTICE OF MOTION FOR LEAVE TO FILE
       SECOND AMENDED COMPLAINT TO ADD PARTY DEFENDANT

       Plaintiff, Malibu Media, LLC (“Plaintiff”), by and through undersigned counsel, and

pursuant to Fed. R. Civ. P. 15 and Local Rules 7.1, and 78.1, hereby files its Notice of Motion

for its Motion For Leave to File Second Amended Complaint to Add Party Defendant, as more

fully appears in the accompanying Motion and Incorporated Memorandum of Law (Exhibit “A”

hereto), and states as follows:

             1.     A brief in support of this motion and proposed order are filed
       contemporaneously herewith as Exhibit “A.”
             2.     A proposed Second Amended Complaint and its exhibits are filed
       contemporaneously herewith as Exhibit “B.”
             3.     A proposed Order is filed contemporaneously herewith as Exhibit “C.”


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              4.    Pursuant to Local Rules 7.1 and 78.1, this motion is made returnable
       before Honorable Judge William J. Martini on motion day April 2, 2018.
              5.    Plaintiff does not request oral argument.

       WHEREFORE, Plaintiff, Malibu Media, LLC, respectfully requests entry of an order:

       (A)    Granting leave for Plaintiff to files its proposed Second Amended Complaint; and,
       (B)    Granting Plaintiff such other and further relief as this Court deems just and
              proper.

Dated: March 1, 2018                                Respectfully submitted,

                                            By:      /s/ Patrick J. Cerillo
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                                                    Attorneys for Plaintiff


                               CERTIFICATE OF SERVICE

       I hereby certify that on March 1, 2018, I electronically filed the foregoing document with
the Clerk of the Court using CM/ECF and that service was perfected on all parties through this
system.

                                            By:     /s/ Patrick J. Cerillo




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